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                Exhibit “A”
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                                                               TERMS AND CONDITIONS
                                                                 OF YOUR ACCOUNT
IMPORTANT INFORMATION ABOUT PROCEDURES FOR OPENING A NEW ACCOUNT - To help the government fight
the funding of terrorism and money laundering activities, federal law requires all financial institutions to obtain, verify, and
record information that identifies each person who opens an account.
What this means for you: When you open an account, we will ask for your name, address, date of birth, and other information
that will allow us to identify you. We may also ask to see your driver’s license or other identifying documents.
AGREEMENT - This document, along with any other documents we give you pertaining to your account(s), is a contract that
establishes rules which control your account(s) with us. Please read this carefully and retain it for future reference. If you sign
the signature card or open or continue to use the account, you agree to these rules. You will receive a separate schedule of
rates, qualifying balances, and fees if they are not included in this document. If you have any questions, please call us.
This agreement is subject to applicable federal laws, the laws of the state of the branch in which your account is located and
other applicable rules such as the operating letters of the Federal Reserve Banks and payment processing system rules
(except to the extent that this agreement can and does vary such rules or laws). The body of state and federal law that
governs our relationship with you, however, is too large and complex to be reproduced here. The purpose of this document is
to:
(1) summarize some laws that apply to common transactions;
(2) establish rules to cover transactions or events which the law does not regulate;
(3) establish rules for certain transactions or events which the law regulates but permits variation by agreement; and
(4) give you disclosures of some of our policies to which you may be entitled or in which you may be interested.
If any provision of this document is found to be unenforceable according to its terms, all remaining provisions will continue in
full force and effect. We may permit some variations from our standard agreement, but we must agree to any variation in
writing either on the signature card for your account or in some other document. Nothing in this document is intended to vary
our duty to act in good faith and with ordinary care when required by law.
As used in this document the words “we,” “our,” and “us” mean the financial institution and the words “you” and “your” mean
the account holder(s) and anyone else with the authority to deposit, withdraw, or exercise control over the funds in the
account. However, this agreement does not intend, and the terms “you” and “your” should not be interpreted, to expand an
individual’s responsibility for an organization’s liability. If this account is owned by a corporation, partnership or other
organization, individual liability is determined by the laws generally applicable to that type of organization. The headings in this
document are for convenience or reference only and will not govern the interpretation of the provisions. Unless it would be
inconsistent to do so, words and phrases used in this document should be construed so the singular includes the plural and
the plural includes the singular.
Throughout this document, when a provision is identified as being applicable to a certain state (for example, "in West
Virginia"), it means that the provision is only applicable if your account is held at a branch located in that particular state. Any
provision which is not described as applying to a particular state, applies to your account.
LIABILITY - You agree, for yourself (and the person or entity you represent if you sign as a representative of another) to the
terms of this account and the schedule of charges. You authorize us to deduct these charges, without notice to you, directly
from the account balance as accrued. You will pay any additional reasonable charges for services you request which are not
covered by this agreement.
Each of you also agrees to be jointly and severally (individually) liable for any account shortage resulting from charges or
overdrafts, whether caused by you or another with access to this account. This liability is due immediately, and can be
deducted directly from the account balance whenever sufficient funds are available. You have no right to defer payment of this
liability, and you are liable regardless of whether you signed the item or benefited from the charge or overdraft.
You will be liable for our costs as well as for our reasonable attorneys’ fees, to the extent permitted by law, whether incurred
as a result of collection or in any other dispute involving your account. This includes, but is not limited to, disputes between
you and another joint owner; you and an authorized signer or similar party; or a third party claiming an interest in your
account. This also includes any action that you or a third party takes regarding the account that causes us, in good faith, to
seek the advice of an attorney, whether or not we become involved in the dispute. All costs and attorneys’ fees can be
deducted from your account when they are incurred, without notice to you.
DEPOSITS - We will give only provisional credit until collection is final for any items, other than cash, we accept for deposit
(including items drawn “on us”). Before settlement of any item becomes final, we act only as your agent, regardless of the
form of indorsement or lack of indorsement on the item and even though we provide you provisional credit for the item. We
may reverse any provisional credit for items that are lost, stolen, or returned. Unless prohibited by law, we also reserve the
right to charge back to your account the amount of any item deposited to your account or cashed for you which was initially
paid by the payor bank and which is later returned to us due to an allegedly forged, unauthorized or missing indorsement,
claim of alteration, encoding error or other problem which in our judgment justifies reversal of credit. You authorize us to


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attempt to collect previously returned items without giving you notice, and in attempting to collect we may permit the payor
bank to hold an item beyond the midnight deadline. Actual credit for deposits of, or payable in, foreign currency will be at the
exchange rate in effect on final collection in U.S. dollars. We are not responsible for transactions by mail or outside depository
until we actually record them. We will treat and record all transactions received after our “daily cutoff time” on a business day
we are open, or received on a day we are not open for business, as if initiated on the next business day that we are open. At
our option, we may take an item for collection rather than for deposit. If we accept a third-party check for deposit, we may
require any third-party indorsers to verify or guarantee their indorsements, or indorse in our presence.
WITHDRAWALS -
Generally - Unless clearly indicated otherwise on the account records, any of you, acting alone, who signs to open the
account or has authority to make withdrawals may withdraw or transfer all or any part of the account balance at any time.
Each of you (until we receive written notice to the contrary) authorizes each other person who signs or has authority to make
withdrawals to indorse any item payable to you or your order for deposit to this account or any other transaction with us.
Postdated checks - A postdated check is one which bears a date later than the date on which the check is written. We may
properly pay and charge your account for a postdated check even though payment was made before the date of the check,
unless we have received written notice of the postdating in time to have a reasonable opportunity to act. Because we process
checks mechanically, your notice will not be effective and we will not be liable for failing to honor your notice unless it precisely
identifies the number, date, amount and payee of the item.
Checks and withdrawal rules - If you do not purchase your check blanks from us, you must be certain that we approve the
check blanks you purchase. We may refuse any withdrawal or transfer request which you attempt on forms not approved by
us or by any method we do not specifically permit. We may refuse any withdrawal or transfer request which is greater in
number than the frequency permitted, or which is for an amount greater or less than any withdrawal limitations. We will use
the date the transaction is completed by us (as opposed to the date you initiate it) to apply the frequency limitations. In
addition, we may place limitations on the account until your identity is verified.
Even if we honor a nonconforming request, we are not required to do so later. If you violate the stated transaction limitations
(if any), in our discretion we may close your account or reclassify it as a transaction account. If we reclassify your account,
your account will be subject to the fees and earnings rules of the new account classification.
If we are presented with an item drawn against your account that would be a “substitute check,” as defined by law, but for an
error or defect in the item introduced in the substitute check creation process, you agree that we may pay such item.
See the funds availability policy disclosure for information about when you can withdraw funds you deposit. For those
accounts to which our funds availability policy disclosure does not apply, you can ask us when you make a deposit when
those funds will be available for withdrawal. An item may be returned after the funds from the deposit of that item are made
available for withdrawal. In that case, we will reverse the credit of the item. We may determine the amount of available funds
in your account for the purpose of deciding whether to return an item for insufficient funds at any time between the time we
receive the item and when we return the item or send a notice in lieu of return. We need only make one determination, but if
we choose to make a subsequent determination, the account balance at the subsequent time will determine whether there are
insufficient available funds.
A temporary debit authorization hold affects your account balance - On debit card purchases, merchants may request a
temporary hold on your account for a specified sum of money, which may be more than the actual amount of your purchase.
When this happens, our processing system cannot determine that the amount of the hold exceeds the actual amount of your
purchase. This temporary hold, and the amount charged to your account, will eventually be adjusted to the actual amount of
your purchase, but it may be up to three days before the adjustment is made. Until the adjustment is made, the amount of
funds in your account available for other transactions will be reduced by the amount of the temporary hold. If another
transaction is presented for payment in an amount greater than the funds left after the deduction of the temporary hold
amount, that transaction will be a nonsufficient funds (NSF) transaction if we do not pay it or an overdraft transaction if we do
pay it. You will be charged an NSF or overdraft fee according to our NSF or overdraft fee policy. You will be charged the fee
even if you would have had sufficient funds in your account if the amount of the hold had been equal to the amount of your
purchase.
Here is an example of how this can occur – assume for this example the following: (1) you have opted-in to our overdraft
services for the payment of overdrafts on ATM and everyday debit card transactions, (2) we pay the overdraft, and (3) our
overdraft fee is $35 per overdraft, but we do not charge the overdraft fee if the transaction overdraws the account by less than
$10.
You have $120 in your account. You swipe your card at the card reader on a gasoline pump. Since it is unclear what the final
bill will be, the gas station’s processing system immediately requests a hold on your account in a specified amount, for
example, $80. Our processing system authorizes a temporary hold on your account in the amount of $80, and the gas station’s
processing system authorizes you to begin pumping gas. You fill your tank and the amount of gasoline you purchased is only
$50. Our processing system shows that you have $40 in your account available for other transactions ($120 - $80 = $40) even
though you would have $70 in your account available for other transactions if the amount of the temporary hold was equal to
the amount of your purchase ($120 - $50 = $70). Later, another transaction you have authorized is presented for payment from

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your account in the amount of $60 (this could be a check you have written, another debit card transaction, an ACH debit or any
other kind of payment request). This other transaction is presented before the amount of the temporary hold is adjusted to the
amount of your purchase (remember, it may take up to three days for the adjustment to be made). Because the amount of this
other transaction is greater than the amount our processing system shows is available in your account, our payment of this
transaction will result in an overdraft transaction. Because the transaction overdraws your account by $20, your account will be
assessed the overdraft fee of $35 according to our overdraft fee policy. You will be charged this $35 fee according to our policy
even though you would have had enough money in your account to cover the $60 transaction if your account had only been
debited the amount of your purchase rather than the amount of the temporary hold or if the temporary hold had already been
adjusted to the actual amount of your purchase.
Overdrafts - You understand that we may, at our discretion, honor withdrawal requests that overdraw your account. However,
the fact that we may honor withdrawal requests that overdraw the account balance does not obligate us to do so later. So you
can NOT rely on us to pay overdrafts on your account regardless of how frequently or under what circumstances we have
paid overdrafts on your account in the past. We can change our practice of paying overdrafts on your account without notice
to you. You can ask us if we have other account services that might be available to you where we commit to paying overdrafts
under certain circumstances, such as an overdraft protection line-of-credit or a plan to sweep funds from another account you
have with us. You agree that we may charge fees for overdrafts. For consumer accounts, we will not charge fees for
overdrafts caused by ATM withdrawals or one-time debit card transactions if you have not opted-in to that service. We may
use subsequent deposits, including direct deposits of social security or other government benefits, to cover such overdrafts
and overdraft fees.
Multiple signatures, electronic check conversion, and similar transactions - An electronic check conversion transaction
is a transaction where a check or similar item is converted into an electronic fund transfer as defined in the Electronic Fund
Transfers regulation. In these types of transactions the check or similar item is either removed from circulation (truncated) or
given back to you. As a result, we have no opportunity to review the check to examine the signatures on the item. You agree
that, as to these or any items as to which we have no opportunity to examine the signatures, you waive any requirement of
multiple signatures.
Notice of withdrawal - Withdrawals from a time account prior to maturity or prior to any notice period may be restricted and
may be subject to penalty. See your notice of penalty for early withdrawal.
In Kentucky, Release-of-funds procedure - We reserve the right to prevent withdrawal from this account upon the death of
any owner until all required release-of-funds procedures are completed.
In West Virginia, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION - These rules apply to this account
depending on the form of ownership and beneficiary designation, if any, specified on the account records. We make no
representations as to the appropriateness or effect of the ownership and beneficiary designations, except as they determine to
whom we pay the account funds.
Individual Account - is an account in the name of one person.
Joint Account - With Survivorship - If such an account ownership is selected, each joint tenant intends and agrees that the
account balance upon his or her death shall be the property of the surviving joint tenant, and if more than one survives, they
shall remain as joint tenants with right of survivorship between them.
Joint Account - No Survivorship (As Tenants In Common) - is owned by two or more persons, but none of you intend
(merely by opening this account) to create any right of survivorship in any other person. We encourage you to agree and tell
us in writing of the percentage of the deposit contributed by each of you. This information will not, however, affect the “number
of signatures” necessary for withdrawal.
Revocable Trust or Pay-On-Death Account - If two or more of you create this type of account, you own the account jointly
with survivorship. Beneficiaries cannot withdraw unless: (1) all persons creating the account die, and (2) the beneficiary is
then living. If two or more beneficiaries are named and survive the death of all persons creating the account, beneficiaries will
own this account in equal shares, without right of survivorship. The person(s) creating either of these account types may: (1)
change beneficiaries, (2) change account types, and (3) withdraw all or part of the account funds at any time.
In West Virginia, NOTICE TO JOINT ACCOUNT HOLDERS - This provision does not apply to joint accounts if the
signatures of all of the account owners are required to make a withdrawal.
This joint account is payable in both your name “or” in the name of the other person(s) listed on the account (Example “Mr.
Smith or Mrs. Smith”).
Please be advised and forewarned that:
   • All the money in this joint account may be withdrawn by anyone named on this account; or may be pledged as security for
     a loan or debt by anyone named on the account.
     – UNLESS, prior written notice is given to the bank not to permit it.
   • Despite any notification to the bank
     – The bank may pay the entire account balance to a creditor or other legal claimant pursuant to legal process.


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In Kentucky, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION - These rules apply to this account
depending on the form of ownership and beneficiary designation, if any, specified on the account records. We make no
representations as to the appropriateness or effect of the ownership and beneficiary designations, except as they determine to
whom we pay the account funds.
Individual Account - is an account in the name of one person.
Joint Account - With Survivorship (And Not As Tenants In Common) - is an account in the name of two or more persons.
Each of you intend that when you die the balance in the account (subject to any previous pledge to which we have agreed)
will belong to the survivor(s). If two or more of you survive, you will own the balance in the account as joint tenants with
survivorship and not as tenants in common.
Joint Account - No Survivorship (As Tenants In Common) - is owned by two or more persons, but none of you intend
(merely by opening this account) to create any right of survivorship in any other person. We encourage you to agree and tell
us in writing of the percentage of the deposit contributed by each of you. This information will not, however, affect the “number
of signatures” necessary for withdrawal.
Revocable Trust or Pay-On-Death Account - If two or more of you create such an account, you own the account jointly with
survivorship. Beneficiaries cannot withdraw unless: (1) all persons creating the account die, (2) the beneficiary is then living,
and (3) any required release-of-funds procedures have been completed. If two or more beneficiaries are named and survive
the death of all persons creating the account, such beneficiaries will own this account in equal shares, without right of
survivorship. The person(s) creating either of these account types reserves the right to: (1) change beneficiaries, (2) change
account types, and (3) withdraw all or part of the account funds at any time.
In Ohio, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION - These rules apply to this account depending on
the form of ownership and beneficiary designation, if any, specified on the account records. We make no representations as to
the appropriateness or effect of the ownership and beneficiary designations, except as they determine to whom we pay the
account funds.
Individual Account - is an account in the name of one person.
Joint Account - With Survivorship (And Not As Tenants In Common) - is an account in the name of two or more persons.
Each of you intend that when you die the balance in the account (subject to any previous pledge to which we have agreed)
will belong to the survivor(s). If two or more of you survive, you will own the balance in the account as joint tenants with
survivorship and not as tenants in common.
Joint Account - No Survivorship (As Tenants In Common) - is owned by two or more persons, but none of you intend
(merely by opening this account) to create any right of survivorship in any other person. We encourage you to agree and tell
us in writing of the percentage of the deposit contributed by each of you. This information will not, however, affect the “number
of signatures” necessary for withdrawal.
Revocable Trust or Pay-On-Death Account - If two or more of you create this type of account, you own the account jointly
with survivorship. Beneficiaries cannot withdraw unless: (1) all persons creating the account die, and (2) the beneficiary is
then living. If two or more beneficiaries are named and survive the death of all persons creating the account, beneficiaries will
own this account in equal shares, without right of survivorship. The person(s) creating either of these account types may: (1)
change beneficiaries, (2) change account types, and (3) withdraw all or part of the account funds at any time.
In Virginia, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION - These rules apply to this account depending
on the form of ownership and beneficiary designation, if any, specified on the account records. We make no representations
as to the appropriateness or effect of the ownership and beneficiary designations, except as they determine to whom we pay
the account funds.
Individual Account - is an account in the name of one person.
Joint Account - With Survivorship (And Not As Tenants In Common) - is an account in the name of two or more persons.
Each of you intend and agree that on the death of a party to the account, the deceased party’s ownership in the account
passes to the surviving party or parties to the account. This is subject to any previous pledge to which we have agreed. If two
or more of you survive, you will own the balance in the account as joint tenants with survivorship and not as tenants in
common.
Joint Account - No Survivorship (As Tenants In Common) - is owned by two or more persons, but none of you intend
(merely by opening this account) to create any right of survivorship in any other person. Each of you intend that when you die
your interest in this account will pass as a part of your estate under a will, trust, or by intestacy. We encourage you to agree
and tell us in writing of the percentage of the deposit contributed by each of you. This information will not, however, affect the
“number of signatures” necessary for withdrawal.
Revocable Trust or Pay-On-Death Account - If two or more of you create this type of account, you own the account jointly
with survivorship. Beneficiaries cannot withdraw unless: (1) all persons creating the account die, and (2) the beneficiary is
then living. If two or more beneficiaries are named and survive the death of all persons creating the account, beneficiaries will
own this account in equal shares, without right of survivorship. The person(s) creating either of these account types may: (1)
change beneficiaries, (2) change account types, and (3) withdraw all or part of the account funds at any time.


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BUSINESS, ORGANIZATION AND ASSOCIATION ACCOUNTS - Earnings in the form of interest, dividends, or credits will
be paid only on collected funds, unless otherwise provided by law or our policy. You represent that you have the authority to
open and conduct business on this account on behalf of the entity. We may require the governing body of the entity opening
the account to give us a separate authorization telling us who is authorized to act on its behalf. We will honor the authorization
until we actually receive written notice of a change from the governing body of the entity.
In West Virginia, Ohio and Virginia, STOP PAYMENTS - Unless otherwise provided, the rules in this section cover stopping
payment of items such as checks and drafts. Rules for stopping payment of other types of transfers of funds, such as
consumer electronic fund transfers, may be established by law or our policy. If we have not disclosed these rules to you
elsewhere, you may ask us about those rules.
We may accept an order to stop payment on any item from any one of you. You must make any stop-payment order in the
manner required by law and we must receive it in time to give us a reasonable opportunity to act on it before our stop-
payment cutoff time. Because stop-payment orders are handled by computers, to be effective, your stop-payment order must
precisely identify the number, date, and amount of the item, and the payee. You may stop payment on any item drawn on your
account whether you sign the item or not. Generally, if your stop-payment order is given to us in writing it is effective for six
months. Your order will lapse after that time if you do not renew the order in writing before the end of the six-month period. If
the original stop-payment order was oral your stop-payment order will lapse after 14 calendar days if you do not confirm your
order in writing within that time period. We are not obligated to notify you when a stop-payment order expires. A release of the
stop-payment request may be made only by the person who initiated the stop-payment order.
If you stop payment on an item and we incur any damages or expenses because of the stop payment, you agree to indemnify
us for those damages or expenses, including attorneys’ fees. You assign to us all rights against the payee or any other holder
of the item. You agree to cooperate with us in any legal actions that we may take against such persons. You should be aware
that anyone holding the item may be entitled to enforce payment against you despite the stop-payment order.
Our stop-payment cutoff time is one hour after the opening of the next banking day after the banking day on which we receive
the item. Additional limitations on our obligation to stop payment are provided by law (e.g., we paid the item in cash or we
certified the item).
In Kentucky, STOP PAYMENTS - Unless otherwise provided, the rules in this section cover stopping payment of items such
as checks and drafts. Rules for stopping payment of other types of transfers of funds, such as consumer electronic fund
transfers, may be established by law or our policy. If we have not disclosed these rules to you elsewhere, you may ask us
about those rules.
We may accept an order to stop payment on any item from any one of you. You must make any stop-payment order in the
manner required by law and we must receive it in time to give us a reasonable opportunity to act on it before our stop-
payment cutoff time. Because stop-payment orders are handled by computers, to be effective, your stop-payment order must
precisely identify the number, date, and amount of the item, and the payee. You may stop payment on any item drawn on your
account whether you sign the item or not. Your stop payment order is effective for six months if it is given to us in writing or by
another type of record (Generally, a “record” is information that is stored in such a way that it can be retrieved and can be
heard or read and understood – you can ask us what type of stop payment records you can give us). Your order will lapse
after that time if you do not renew the order in writing before the end of the six-month period. If the original stop-payment order
was oral your stop-payment order will lapse after 14 calendar days if it is not confirmed in writing or by another type of record
within that time period. We are not obligated to notify you when a stop-payment order expires. A release of the stop-payment
request may be made only by the person who initiated the stop-payment order.
If you stop payment on an item and we incur any damages or expenses because of the stop payment, you agree to indemnify
us for those damages or expenses, including attorneys’ fees. You assign to us all rights against the payee or any other holder
of the item. You agree to cooperate with us in any legal actions that we may take against such persons. You should be aware
that anyone holding the item may be entitled to enforce payment against you despite the stop-payment order.
Our stop-payment cutoff time is one hour after the opening of the next banking day after the banking day on which we receive
the item. Additional limitations on our obligation to stop payment are provided by law (e.g., we paid the item in cash or we
certified the item).
TELEPHONE TRANSFERS - A telephone transfer of funds from this account to another account with us, if otherwise
arranged for or permitted, may be made by the same persons and under the same conditions generally applicable to
withdrawals made in writing. Unless a different limitation is disclosed in writing, we restrict the number of transfers from a
savings account to another account or to third parties, to a maximum of six per month (less the number of “preauthorized
transfers” during the month). Other account transfer restrictions may be described elsewhere.
AMENDMENTS AND TERMINATION - We may change any term of this agreement. Rules governing changes in interest
rates are provided separately in the Truth-in-Savings disclosure or in another document. For other changes, we will give you
reasonable notice in writing or by any other method permitted by law. We may also close this account at any time upon
reasonable notice to you and tender of the account balance personally or by mail. Items presented for payment after the
account is closed may be dishonored. When you close your account, you are responsible for leaving enough money in the
account to cover any outstanding items to be paid from the account. Reasonable notice depends on the circumstances, and in

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some cases such as when we cannot verify your identity or we suspect fraud, it might be reasonable for us to give you notice
after the change or account closure becomes effective. For instance, if we suspect fraudulent activity with respect to your
account, we might immediately freeze or close your account and then give you notice. If we have notified you of a change in
any term of your account and you continue to have your account after the effective date of the change, you have agreed to the
new term(s).
NOTICES - Any written notice you give us is effective when we actually receive it, and it must be given to us according to the
specific delivery instructions provided elsewhere, if any. We must receive it in time to have a reasonable opportunity to act on
it. If the notice is regarding a check or other item, you must give us sufficient information to be able to identify the check or
item, including the precise check or item number, amount, date and payee. Written notice we give you is effective when it is
deposited in the United States Mail with proper postage and addressed to your mailing address we have on file. Notice to any
of you is notice to all of you.
STATEMENTS - Your duty to report unauthorized signatures, alterations and forgeries - You must examine your
statement of account with “reasonable promptness.” If you discover (or reasonably should have discovered) any unauthorized
signatures or alterations, you must promptly notify us of the relevant facts. As between you and us, if you fail to do either of
these duties, you will have to either share the loss with us, or bear the loss entirely yourself (depending on whether we used
ordinary care and, if not, whether we substantially contributed to the loss). The loss could be not only with respect to items on
the statement but other items with unauthorized signatures or alterations by the same wrongdoer.
You agree that the time you have to examine your statement and report to us will depend on the circumstances, but will not, in
any circumstance, exceed a total of 30 days from when the statement is first sent or made available to you.
You further agree that if you fail to report any unauthorized signatures, alterations or forgeries in your account within 60 days
of when we first send or make the statement available, you cannot assert a claim against us on any items in that statement,
and as between you and us the loss will be entirely yours. This 60-day limitation is without regard to whether we used ordinary
care. The limitation in this paragraph is in addition to that contained in the first paragraph of this section.
Your duty to report other errors - In addition to your duty to review your statements for unauthorized signatures, alterations
and forgeries, you agree to examine your statement with reasonable promptness for any other error - such as an encoding
error. In addition, if you receive or we make available either your items or images of your items, you must examine them for
any unauthorized or missing indorsements or any other problems. You agree that the time you have to examine your
statement and items and report to us will depend on the circumstances. However, this time period shall not exceed 60 days.
Failure to examine your statement and items and report any errors to us within 60 days of when we first send or make the
statement available precludes you from asserting a claim against us for any errors on items identified in that statement and as
between you and us the loss will be entirely yours.
Errors relating to electronic fund transfers or substitute checks - For information on errors relating to electronic fund
transfers (e.g., computer, debit card or ATM transactions) refer to your Electronic Fund Transfers disclosure and the sections
on consumer liability and error resolution. For information on errors relating to a substitute check you received, refer to your
disclosure entitled Substitute Checks and Your Rights.
ACCOUNT TRANSFER - This account may not be transferred or assigned without our prior written consent.
DIRECT DEPOSITS - If we are required for any reason to reimburse the federal government for all or any portion of a benefit
payment that was directly deposited into your account, you authorize us to deduct the amount of our liability to the federal
government from the account or from any other account you have with us, without prior notice and at any time, except as
prohibited by law. We may also use any other legal remedy to recover the amount of our liability.
TEMPORARY ACCOUNT AGREEMENT - If the account documentation indicates that this is a temporary account
agreement, each person who signs to open the account or has authority to make withdrawals (except as indicated to the
contrary) may transact business on this account. However, we may at some time in the future restrict or prohibit further use of
this account if you fail to comply with the requirements we have imposed within a reasonable time.
SETOFF - We may (without prior notice and when permitted by law) set off the funds in this account against any due and
payable debt any of you owe us now or in the future. If this account is owned by one or more of you as individuals, we may set
off any funds in the account against a due and payable debt a partnership owes us now or in the future, to the extent of your
liability as a partner for the partnership debt. If your debt arises from a promissory note, then the amount of the due and
payable debt will be the full amount we have demanded, as entitled under the terms of the note, and this amount may include
any portion of the balance for which we have properly accelerated the due date.
This right of setoff does not apply to this account if prohibited by law. For example, the right of setoff does not apply to this
account if: (a) it is an Individual Retirement Account or similar tax-deferred account, or (b) the debt is created by a consumer
credit transaction under a credit card plan (but this does not affect our rights under any consensual security interest), or (c) the
debtor’s right of withdrawal only arises in a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its
implementing regulations. We will not be liable for the dishonor of any check when the dishonor occurs because we set off a
debt against this account. You agree to hold us harmless from any claim arising as a result of our exercise of our right of setoff.



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AUTHORIZED SIGNER (Individual Accounts only) - A single individual is the owner. The authorized signer is merely
designated to conduct transactions on the owner’s behalf. The owner does not give up any rights to act on the account, and
the authorized signer may not in any manner affect the rights of the owner or beneficiaries, if any, other than by withdrawing
funds from the account. The owner is responsible for any transactions of the authorized signer. We undertake no obligation to
monitor transactions to determine that they are on the owner’s behalf.
The owner may terminate the authorization at any time, and the authorization is automatically terminated by the death of the
owner. However, we may continue to honor the transactions of the authorized signer until: (a) we have received written notice
or have actual knowledge of the termination of authority, and (b) we have a reasonable opportunity to act on that notice or
knowledge. We may refuse to accept the designation of an authorized signer.
RESTRICTIVE LEGENDS OR INDORSEMENTS - The automated processing of the large volume of checks we receive
prevents us from inspecting or looking for restrictive legends, restrictive indorsements or other special instructions on every
check. Examples of restrictive legends placed on checks are “must be presented within 90 days” or “not valid for more than
$1,000.00.” The payee’s signature accompanied by the words “for deposit only” is an example of a restrictive indorsement.
For this reason, we are not required to honor any restrictive legend or indorsement or other special instruction placed on
checks you write unless we have agreed in writing to the restriction or instruction. Unless we have agreed in writing, we are
not responsible for any losses, claims, damages, or expenses that result from your placement of these restrictions or
instructions on your checks.
In Virginia, GUARDIAN OR CUSTODIAL ACCOUNTS - This account is not subject to dormant service charges if the deposit
was made: (1) by a court or (2) by a guardian pursuant to order of a court or (3) by any other person for the benefit of a
person who was an infant at the time of the making of such deposit and which deposit is subject to withdrawal only upon the
further order of such court or such guardian or other person. This account may become subject to dormant service charges
one year after such infant attains the age of eighteen years or one year after the death of such infant, whichever occurs
sooner. At our option, we may require proof of guardian or custodial status.
FACSIMILE SIGNATURES - Unless you make advance arrangements with us, we have no obligation to honor facsimile
signatures on your checks or other orders. If we do agree to honor items containing facsimile signatures, you authorize us, at
any time, to charge you for all checks, drafts, or other orders, for the payment of money, that are drawn on us. You give us
this authority regardless of by whom or by what means the facsimile signature(s) may have been affixed so long as they
resemble the facsimile signature specimen filed with us, and contain the required number of signatures for this purpose. You
must notify us at once if you suspect that your facsimile signature is being or has been misused.
CHECK PROCESSING - We process items mechanically by relying solely on the information encoded in magnetic ink along
the bottom of the items. This means that we do not individually examine all of your items to determine if the item is properly
completed, signed and indorsed or to determine if it contains any information other than what is encoded in magnetic ink. You
agree that we have exercised ordinary care if our automated processing is consistent with general banking practice, even
though we do not inspect each item. Because we do not inspect each item, if you write a check to multiple payees, we can
properly pay the check regardless of the number of indorsements unless you notify us in writing that the check requires
multiple indorsements. We must receive the notice in time for us to have a reasonable opportunity to act on it, and you must
tell us the precise date of the check, amount, check number and payee. We are not responsible for any unauthorized
signature or alteration that would not be identified by a reasonable inspection of the item. Using an automated process helps
us keep costs down for you and all account holders.
CHECK CASHING - We may charge a fee for anyone that does not have an account with us who is cashing a check, draft or
other instrument written on your account. We may also require reasonable identification to cash such a check, draft or other
instrument. We can decide what identification is reasonable under the circumstances and such identification may be
documentary or physical and may include collecting a thumbprint or fingerprint.
INDORSEMENTS - We may accept for deposit any item payable to you or your order, even if they are not indorsed by you.
We may give cash back to any one of you. We may supply any missing indorsement(s) for any item we accept for deposit or
collection, and you warrant that all indorsements are genuine.
To ensure that your check or share draft is processed without delay, you must indorse it (sign it on the back) in a specific
area. Your entire indorsement (whether a signature or a stamp) along with any other indorsement information (e.g. additional
indorsements, ID information, driver’s license number, etc.) must fall within 11/2” of the “trailing edge” of a check. Indorsements
must be made in blue or black ink, so that they are readable by automated check processing equipment.
As you look at the front of a check, the “trailing edge” is the left edge. When you flip the check over, be sure to keep all
indorsement information within 11/2” of that edge.




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                                                                                                        YOUR INDORSEMENT MUST
                                                                                                        BE WITHIN THIS AREA

                                                                           7654
                              Name
                              Address, City, State                   20
                              Pay to the
                              order of                           $
                                                                          dollars              1 1/2"           Keep your indorsement
                                                                                                                   out of this area.
                              Bank Name
                              and Location
                              Memo
                                123456789           7654

                                              FRONT OF CHECK                                                BACK OF CHECK

                                                                                    TRAILING EDGE

It is important that you confine the indorsement information to this area since the remaining blank space will be used by others
in the processing of the check to place additional needed indorsements and information. You agree that you will indemnify,
defend, and hold us harmless for any loss, liability, damage or expense that occurs because your indorsement, another
indorsement or information you have printed on the back of the check obscures our indorsement.
These indorsement guidelines apply to both personal and business checks.
DEATH OR INCOMPETENCE - You agree to notify us promptly if any person with a right to withdraw funds from your
account(s) dies or is adjudicated (determined by the appropriate official) incompetent. We may continue to honor your checks,
items, and instructions until: (a) we know of your death or adjudication of incompetence, and (b) we have had a reasonable
opportunity to act on that knowledge. You agree that we may pay or certify checks drawn on or before the date of death or
adjudication of incompetence for up to ten (10) days after your death or adjudication of incompetence unless ordered to stop
payment by someone claiming an interest in the account.
FIDUCIARY ACCOUNTS - Accounts may be opened by a person acting in a fiduciary capacity. A fiduciary is someone who is
appointed to act on behalf of and for the benefit of another. We are not responsible for the actions of a fiduciary, including the
misuse of funds. This account may be opened and maintained by a person or persons named as a trustee under a written
trust agreement, or as executors, administrators, or conservators under court orders. You understand that by merely opening
such an account, we are not acting in the capacity of a trustee in connection with the trust nor do we undertake any obligation
to monitor or enforce the terms of the trust or letters.
CREDIT VERIFICATION - You agree that we may verify credit and employment history by any necessary means, including
preparation of a credit report by a credit reporting agency.
LEGAL ACTIONS AFFECTING YOUR ACCOUNT - If we are served with a subpoena, restraining order, writ of attachment or
execution, levy, garnishment, search warrant, or similar order relating to your account (termed “legal action” in this section),
we will comply with that legal action. Or, in our discretion, we may freeze the assets in the account and not allow any
payments out of the account until a final court determination regarding the legal action. We may do these things even if the
legal action involves less than all of you. In these cases, we will not have any liability to you if there are insufficient funds to
pay your items because we have withdrawn funds from your account or in any way restricted access to your funds in
accordance with the legal action. Any fees or expenses we incur in responding to any legal action (including, without
limitation, attorneys’ fees and our internal expenses) may be charged against your account. The list of fees applicable to your
account(s) provided elsewhere may specify additional fees that we may charge for certain legal actions.
SECURITY - It is your responsibility to protect the account numbers and electronic access devices (e.g., an ATM card) we
provide you for your account(s). Do not discuss, compare, or share information about your account number(s) with anyone
unless you are willing to give them full use of your money. An account number can be used by thieves to issue an electronic
debit or to encode your number on a false demand draft which looks like and functions like an authorized check. If you furnish
your access device and grant actual authority to make transfers to another person (a family member or coworker, for example)
who then exceeds that authority, you are liable for the transfers unless we have been notified that transfers by that person are
no longer authorized.
Your account number can also be used to electronically remove money from your account, and payment can be made from
your account even though you did not contact us directly and order the payment.
You must also take precaution in safeguarding your blank checks. Notify us at once if you believe your checks have been lost
or stolen. As between you and us, if you are negligent in safeguarding your checks, you must bear the loss entirely yourself or
share the loss with us (we may have to share some of the loss if we failed to use ordinary care and if we substantially
contributed to the loss).
Except for consumer electronic funds transfers subject to Regulation E, you agree that if we offer you services appropriate for
your account to help identify and limit fraud or other unauthorized transactions against your account, such as positive pay or
commercially reasonable security procedures, and you reject those services, you will be responsible for any fraudulent or
unauthorized transactions which could have been prevented by the services we offered, unless we acted in bad faith or to the
extent our negligence contributed to the loss. If we offered you a commercially reasonable security procedure which you


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reject, you agree that you are responsible for any payment order, whether authorized or not, that we accept in compliance
with an alternative security procedure that you have selected.
TELEPHONIC INSTRUCTIONS - Unless required by law or we have agreed otherwise in writing, we are not required to act
upon instructions you give us via facsimile transmission or leave by voice mail or on a telephone answering machine.
MONITORING AND RECORDING TELEPHONE CALLS AND CONSENT TO RECEIVE COMMUNICATIONS - Subject to
federal and state law, we may monitor or record phone calls for security reasons, to maintain a record and to ensure that you
receive courteous and efficient service. You consent in advance to any such recording.
To provide you with the best possible service in our ongoing business relationship for your account we may need to contact
you about your account from time to time by telephone, text messaging or email. However, we must first obtain your consent
to contact you about your account because we must comply with the consumer protection provisions in the federal Telephone
Consumer Protection Act of 1991 (TCPA), CAN-SPAM Act and their related federal regulations and orders issued by the
Federal Communications Commission (FCC).
    • Your consent is limited to your account, and as authorized by applicable law and regulations.
    • Your consent does not authorize us to contact you for telemarketing purposes (unless you otherwise agreed elsewhere).
With the above understandings, you authorize us to contact you regarding your account throughout its existence using any
telephone numbers or email addresses that you have previously provided to us or that you may subsequently provide to us.
This consent is regardless of whether the number we use to contact you is assigned to a landline, a paging service, a cellular
wireless service, a specialized mobile radio service, other radio common carrier service or any other service for which you
may be charged for the call. You further authorize us to contact you through the use of voice, voice mail and text messaging,
including the use of pre-recorded or artificial voice messages and an automated dialing device.
If necessary, you may change or remove any of the telephone numbers or email addresses at any time using any reasonable
means to notify us.
CLAIM OF LOSS - If you claim a credit or refund because of a forgery, alteration, or any other unauthorized withdrawal, you
agree to cooperate with us in the investigation of the loss, including giving us an affidavit containing whatever reasonable
information we require concerning your account, the transaction, and the circumstances surrounding the loss. You will notify
law enforcement authorities of any criminal act related to the claim of lost, missing, or stolen checks or unauthorized
withdrawals. We will have a reasonable period of time to investigate the facts and circumstances surrounding any claim of
loss. Unless we have acted in bad faith, we will not be liable for special or consequential damages, including loss of profits or
opportunity, or for attorneys’ fees incurred by you.
You agree that you will not waive any rights you have to recover your loss against anyone who is obligated to repay, insure, or
otherwise reimburse you for your loss. You will pursue your rights or, at our option, assign them to us so that we may pursue
them. Our liability will be reduced by the amount you recover or are entitled to recover from these other sources.
EARLY WITHDRAWAL PENALTIES (and involuntary withdrawals) - We may impose early withdrawal penalties on a
withdrawal from a time account even if you don’t initiate the withdrawal. For instance, the early withdrawal penalty may be
imposed if the withdrawal is caused by our setoff against funds in the account or as a result of an attachment or other legal
process. We may close your account and impose the early withdrawal penalty on the entire account balance in the event of a
partial early withdrawal. See your notice of penalty for early withdrawals for additional information.
ADDRESS OR NAME CHANGES - You are responsible for notifying us of any change in your address or your name. Unless
we agree otherwise, change of address or name must be made in writing by at least one of the account holders. Informing us
of your address or name change on a check reorder form is not sufficient. We will attempt to communicate with you only by
use of the most recent address you have provided to us. If provided elsewhere, we may impose a service fee if we attempt to
locate you.
RESOLVING ACCOUNT DISPUTES - We may place an administrative hold on the funds in your account (refuse payment or
withdrawal of the funds) if it becomes subject to a claim adverse to (1) your own interest; (2) others claiming an interest as
survivors or beneficiaries of your account; or (3) a claim arising by operation of law. The hold may be placed for such period of
time as we believe reasonably necessary to allow a legal proceeding to determine the merits of the claim or until we receive
evidence satisfactory to us that the dispute has been resolved. We will not be liable for any items that are dishonored as a
consequence of placing a hold on funds in your account for these reasons.
WAIVER OF NOTICES - To the extent permitted by law, you waive any notice of non-payment, dishonor or protest regarding
any items credited to or charged against your account. For example, if you deposit a check and it is returned unpaid or we
receive a notice of nonpayment, we do not have to notify you unless required by federal Regulation CC or other law.
ACH AND WIRE TRANSFERS - This agreement is subject to Article 4A of the Uniform Commercial Code - Fund Transfers as
adopted in the state in which you have your account with us. If you originate a fund transfer and you identify by name and
number a beneficiary financial institution, an intermediary financial institution or a beneficiary, we and every receiving or
beneficiary financial institution may rely on the identifying number to make payment. We may rely on the number even if it
identifies a financial institution, person or account other than the one named. You agree to be bound by automated clearing
house association rules. These rules provide, among other things, that payments made to you, or originated by you, are

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provisional until final settlement is made through a Federal Reserve Bank or payment is otherwise made as provided in Article
4A-403(a) of the Uniform Commercial Code. If we do not receive such payment, we are entitled to a refund from you in the
amount credited to your account and the party originating such payment will not be considered to have paid the amount so
credited. Credit entries may be made by ACH. If we receive a payment order to credit an account you have with us by wire or
ACH, we are not required to give you any notice of the payment order or credit.
STALE-DATED CHECKS - We are not obligated to, but may at our option, pay a check, other than a certified check,
presented for payment more than six months after its date. If you do not want us to pay a stale-dated check, you must place a
stop-payment order on the check in the manner we have described elsewhere.
TRUNCATION, SUBSTITUTE CHECKS, AND OTHER CHECK IMAGES - If you truncate an original check and create a
substitute check, or other paper or electronic image of the original check, you warrant that no one will be asked to make
payment on the original check, a substitute check or any other electronic or paper image, if the payment obligation relating to
the original check has already been paid. You also warrant that any substitute check you create conforms to the legal
requirements and generally accepted specifications for substitute checks. You agree to retain the original check in
conformance with our internal policy for retaining original checks. You agree to indemnify us for any loss we may incur as a
result of any truncated check transaction you initiate. We can refuse to accept substitute checks that have not previously been
warranted by a bank or other financial institution in conformance with the Check 21 Act. Unless specifically stated in a
separate agreement between you and us, we do not have to accept any other electronic or paper image of an original check.
REMOTELY CREATED CHECKS - Like any standard check or draft, a remotely created check (sometimes called a
telecheck, preauthorized draft or demand draft) is a check or draft that can be used to withdraw money from an account.
Unlike a typical check or draft, however, a remotely created check is not issued by the paying bank and does not contain the
signature of the account owner (or a signature purported to be the signature of the account owner). In place of a signature, the
check usually has a statement that the owner authorized the check or has the owner’s name typed or printed on the signature
line.
You warrant and agree to the following for every remotely created check we receive from you for deposit or collection: (1) you
have received express and verifiable authorization to create the check in the amount and to the payee that appears on the
check; (2) you will maintain proof of the authorization for at least 2 years from the date of the authorization, and supply us the
proof if we ask; and (3) if a check is returned you owe us the amount of the check, regardless of when the check is returned.
We may take funds from your account to pay the amount you owe us, and if there are insufficient funds in your account, you
still owe us the remaining balance.
UNLAWFUL INTERNET GAMBLING NOTICE - Restricted transactions as defined in Federal Reserve Regulation GG are
prohibited from being processed through this account or relationship. Restricted transactions generally include, but are not
limited to, those in which credit, electronic fund transfers, checks, or drafts are knowingly accepted by gambling businesses in
connection with the participation by others in unlawful Internet gambling.
TRANSACTION ACCOUNT ORGANIZATION - We have organized your transaction account in a nontraditional way. Your
transaction account consists of two subaccounts. One of these is a transaction subaccount (e.g., a checking subaccount). You
will transact business on this subaccount. The other is a nontransaction subaccount (e.g., a savings subaccount). You cannot
directly access the nontransaction subaccount, but you agree that we may automatically, and without a specific request from
you, initiate individual transfers of funds between subaccounts from time to time at no cost to you. This account organization
will not change the amount of federal deposit insurance available to you, your available balance, the information on your
periodic statements, or the interest calculation, if this is an interest-bearing account. You will not see any difference between
the way your transaction account operates and the way a traditionally organized transaction account operates, but this
organization makes us more efficient and helps to keep costs down.
DORMANT ACCOUNTS - If you have not made a withdrawal from, or a deposit to, your Account for an extended period of
time and we have been unable to contact you, your Account may be classified by us as dormant. When a checking account
remains inactive for 18 months or a savings account remains inactive for 36 months the account is considered dormant.
Subject to applicable law, we may charge a dormant account fee on the Account, and the Account will be presumed to be
abandoned. In accordance with state law, funds in abandoned accounts will be remitted to the custody of the applicable state
agency, and we will have no further liability to you for such funds. We reserve the right not to send statements on accounts we
consider dormant, subject to applicable law.




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